     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-2189

                       RAMIRO RAMIREZ,

                    Petitioner, Appellant,

                              v.

                        UNITED STATES,

                    Respondent, Appellee.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF RHODE ISLAND

         [Hon. Ernest C. Torres, U.S. District Judge]

                            Before

                   Torruella, Chief Judge,
              Campbell, Senior Circuit Judge,
                 and Lynch, Circuit Judge.

   Ramiro Ramirez on brief pro se.
   Margaret E. Curran, United States Attorney, and Kenneth P.
Madden, Assistant United States Attorney, on brief for appellee.

July 12, 1999

          Per Curiam.  Upon careful review of the briefs and
record, we conclude that the district court properly dismissed
defendant's claim of ineffective assistance of counsel.  We
reach this conclusion essentially for the reasons stated by the
district court in its Memorandum and Order dated August 20,
1998, and we add only this comment.  
          We are not prepared to say in the circumstances of
this case that the attorney's alleged failure to obtain
petitioner's consent, would have been presumptively
prejudicial.  See Scarpa v. Dubois, 38 F.3d 1, 11-15 (1st Cir.
1994); Underwood v. Clark, 939 F.2d 473, 474 (7th Cir. 1991);
see also  United States v. Gomes,     F.3d    , slip op. at 17
(1st Cir. No. 97-2193  May 27, 1999); Bell v. Evatt, 72 F.3d
421, 429 (4th Cir. 1995).  We reject petitioner's analogies to
a guilty plea or a waiver of jury trial, see Gomes,     F.3d
   , slip op. at 17, and his conclusory allegations of breach
of loyalty and actual conflict of interest have no basis.
          Affirmed.  See 1st Cir. Loc. R. 27.1.   
